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                             UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION


    SOUTH CAROLINA COASTAL                     )   Civ. No. 2:18-cv-3326-RMG
    CONSERVATION LEAGUE, et al.,               )
                                               )   (Consolidated with No. 2:18-cv-03327-RMG)
                 Plaintiffs,                   )
                                               )   FEDERAL DEFENDANTS’ RESPONSE TO
                         v.                    )   MOTION TO INTERVENE OF THE
                                               )   STATES OF MARYLAND,
    WILBUR ROSS, in his official capacity      )   CONNECTICUT, DELAWARE, MAINE,
    as the Secretary of Commerce, et al.,      )   NEW JERSEY, NEW YORK, AND NORTH
                                               )   CAROLINA, AND THE
                 Defendants.                   )   COMMONWEALTHS OF
                                               )   MASSACHUSETTS AND VIRGINIA
                                               )
                                               )

         Federal Defendants Wilbur Ross, in his official capacity as the Secretary of Commerce,

the National Marine Fisheries Service, and Chris Oliver, in his official capacity as the Assistant

Administrator for Fisheries, respond to the Motion to Intervene filed by the States of Maryland,

Connecticut, Delaware, Maine, New Jersey, New York, and North Carolina, and the

Commonwealths of Virginia and Massachusetts (“the States”) (ECF 34). The States seek

permissive intervention under Federal Rule of Civil Procedure 24(b).     Federal Defendants have

met and conferred with the States and do not oppose their participation in this lawsuit as

intervenors as long as the Court requires them to abide by certain conditions on their

intervention, to which the States have agreed. 1   To that end, Federal Defendants request that the

Court impose three limited conditions, described below, that will streamline this litigation and

promote judicial economy.




1
  In a February 1, 2019 email, counsel for the State of Maryland authorized counsel for Federal
Defendants to represent that the States agree to the conditions discussed in this response.


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          Under Federal Rule of Civil Procedure 24(b), a district court may grant permissive

intervention when the proposed intervenor “has a claim or defense that shares with the main

action a common question of law or fact.” Fed. R. Civ. P. 24(b)(1)(B). District courts are

“vested with substantial discretion to deny permissive intervention where inappropriate.” Shaw

v. Hunt, 154 F.3d 161, 168 (4th Cir. 1998); see also Smith v. Pennington, 352 F.3d 884, 892 (4th

Cir. 2003) (“Typically, a decision to deny permissive intervention under Rule 24(b) lies within

the sound discretion of the trial court.”) (internal quotation marks and citation omitted). The

Court’s discretion extends to the imposition of limitations on the intervenors’ participation. See,

e.g., Wright & Miller at al., 7C Fed. Prac. & Proc. Civ. § 1922 (3d ed.) (“Since the trial court has

full discretion to grant or deny an application for permissive intervention under Rule 24(b), it

may if it chooses impose conditions on its grant of the application. There are many reported

instances in which conditions of this kind have been imposed.”); Savannah Riverkeeper v. U.S.

Army Corps of Eng’rs, No. 9:12-610-RMG, 2012 WL 13008326, at *3 (D.S.C. Aug. 14, 2012)

(granting permissive intervention, but on the condition that the intervenor was restricted to the

issues and claims raised in the original complaint); Backus v. South Carolina, No. 3:11-cv-

03120-HFF-MBS-PMD, 2012 WL 406860, at *3 (D.S.C. Feb. 8, 2012) (conditioning grant of

permissive intervention on the condition that the intervenor comply with the existing scheduling

order).

          Here, Federal Defendants have requested, and the States have agreed, that the States will

not assert claims beyond those asserted in the proposed complaint-in-intervention, which they

have described in their motion as requesting relief that generally tracks the relief requested by

the principal Plaintiffs, and requesting remedies that overlap substantially with the remedies

requested by the principal Plaintiffs. ECF 34 at 4, 7. Federal Defendants understand that the




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States would reserve their right to add claims against the Bureau of Ocean Energy Management

(“BOEM”) or BOEM-related entities or officials should BOEM ultimately issue permits to the

five applicants who have permit applications pending before BOEM. Federal Defendants

further have requested, and the States have agreed, that the States would abide by any scheduling

orders entered by the Court, and, more specifically, any deadlines applicable to the

Plaintiffs. Federal Defendants understand that, notwithstanding the foregoing, the States reserve

their right to submit papers in support of any preliminary injunction motion filed prior to the

Court’s ruling on the States’ motion to intervene. Finally, Federal Defendants have requested,

and the States have agreed, that the States will agree to make good faith efforts to coordinate

with the principal Plaintiffs in this action and any entities granted plaintiff-intervenor status in

this action on briefs and filings submitted to the Court so that their submissions do not overlap

and are not duplicative.

       Therefore, Federal Defendants request that, if the Court is inclined to exercise its

discretion and grant the States’ motion, the Court also exercise its discretion to impose the

agreed-upon conditions described herein, which will promote considerations of efficiency and

judicial economy.

       Respectfully submitted this 1st day of February, 2019.

                                                   JEAN E. WILLIAMS
                                                   Deputy Assistant Attorney General
                                                   Environment and Natural Resources Division
                                                   SETH M. BARSKY, Chief
                                                   MEREDITH L. FLAX, Assistant Chief

                                                   By: /s/ Alison C. Finnegan
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                                                   JONELLE DILLEY, Trial Attorney
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                                                   Environment & Natural Resources Division
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on February 1, 2019, I electronically filed the foregoing Federal

Defendants’ Response to Motion to Intervene of the States of Maryland, Connecticut, Delaware,

Maine, New Jersey, New York, and North Carolina, and the Commonwealths of Massachusetts

and Virginia with the Clerk of Court using the CM/ECF system, which will send electronic

notification of such filing to all counsel of record.

                                                         /s/ Alison C. Finnegan




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